           IN THE UNITED STATES DISTRICT COURT
       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                     EASTERN DIVISION

                  Civil Action No. 4:11-CV-00094-BO

BRUCE BANNISTER; MAX DUTTON;
and MARION TOWLES;

                  Towles,
                                               APPENDIX TO DEFENDANT’S
     vs.                                        MOTION FOR SUMMARY
                                              JUDGMENT REGARDING MAX
WAL-MART STORES EAST, L.P.,                        DUTTON’S CLAIMS

                  Defendant.



                                    E-2

                  Declaration of Jeffrey McIver Exhibit 2
            J. McIver’s Field Investigation Summary (10/14/2009)




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